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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

ROBERT JULIAN-BORCHAK WILLIAMS,

       Plaintiff,                       CASE NO. 21-10827
                                        HON. GERSHWIN A. DRAIN
-vs-

CITY OF DETROIT, a municipal corporation,
DETROIT POLICE CHIEF JAMES WHITE, in
his official capacity, and DETECTIVE DONALD
BUSSA, in his individual capacity,

       Defendants.

 MICHAEL J. STEINBERG (P43085)              PATRICK M. CUNNINGHAM
 Civil Rights Initiative                    (P67643)
 University of Michigan Law School          City of Detroit Law Department
 701 S. State St., Suite 2020               Attorneys for Defendants
 Ann Arbor, MI 48109                        2 Woodward Avenue, Suite 500
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 mjsteinb@umich.edu                         (313) 237-5032
                                            cunninghamp@detroitmi.gov


                    DEFENDANTS’ ANSWER TO PLAINTIFF’S
                        FIRST AMENDED COMPLAINT

 NOW COME Defendants CITY OF DETROIT, DETROIT POLICE CHIEF

JAMES WHITE, in his official capacity, and DONALD BUSSA, by and through

their counsel, and for their answer to Plaintiff’s complaint, state as follows:
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   1. Answering paragraph 1 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.

   2. Answering paragraph 2 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   3. Answering paragraph 3 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   4. Answering paragraph 4 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.

   5. Answering paragraph 5 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.

   6. Answering paragraph 6 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.



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   7. Answering paragraph 7 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.

   8. Answering paragraph 8 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.

   9. Answering paragraph 9 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   10.Answering paragraph 10 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   11.Answering paragraph 11 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   12.Answering paragraph 12 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.



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   13.Answering paragraph 13 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.

   14.Answering paragraph 14 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.

   15.Answering paragraph 15 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.

   16.Answering paragraph 16 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   17.Answering paragraph 17 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   18.Answering paragraph 18 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.



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   19.Answering paragraph 19 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.

   20.Answering paragraph 20 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   21.Answering paragraph 21 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   22.Answering paragraph 22 of plaintiff’s complaint, defendants admit that

James White is the Chief of Police for the City of Detroit, and that James Craig

was the Chief of Police for the City of Detroit in 2018, denied in all other respects.

   23.Answering paragraph 23 of plaintiff’s complaint, defendants admit same.

   24.Answering paragraph 24 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   25.Answering paragraph 25 of plaintiff’s complaint, defendants deny the

allegations contained therein for the reason that they are untrue in the manner and

form alleged.
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   26.Answering paragraph 26 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   27.Answering paragraph 27 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   28.Answering paragraph 28 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   29.Answering paragraph 29 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   30.Answering paragraph 30 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   31.Answering paragraph 31 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.



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   32.Answering paragraph 32 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   33.Answering paragraph 33 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   34.Answering paragraph 34 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   35.Answering paragraph 35 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   36.Answering paragraph 36 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   37.Answering paragraph 37 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.



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   38.Answering paragraph 38 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   39.Answering paragraph 39 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   40.Answering paragraph 40 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   41.Answering paragraph 41 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   42.Answering paragraph 42 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   43.Answering paragraph 43 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.



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   44.Answering paragraph 44 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   45.Answering paragraph 45 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   46.Answering paragraph 46 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   47.Answering paragraph 47 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   48.Answering paragraph 48 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.

   49.Answering paragraph 49 of plaintiff’s complaint, defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations in this

paragraph, and therefore deny the allegations.



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    50.Answering paragraph 50 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    51.Answering paragraph 51 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    52.Answering paragraph 52 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    53.Answering paragraph 53 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    54.Answering paragraph 54 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    55.Answering paragraph 55 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.



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    56.Answering paragraph 56 of plaintiff’s complaint, defendants admit same.

    57.Answering paragraph 57 of plaintiff’s complaint, defendants admit that the

 suspect was recorded committing felony first degree retail fraud.

    58.Answering paragraph 58 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    59.Answering paragraph 59 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    60.Answering paragraph 60 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    61.Answering paragraph 61 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    62.Answering paragraph 62 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

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    63.Answering paragraph 63 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    64.Answering paragraph 64 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    65.Answering paragraph 65 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    66.Answering paragraph 66 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    67.Answering paragraph 67 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    68.Answering paragraph 68 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.



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    69.Answering paragraph 69 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    70.Answering paragraph 70 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    71.Answering paragraph 71 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    72.Answering paragraph 72 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    73.Answering paragraph 73 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    74.Answering paragraph 74 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.



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    75.Answering paragraph 75 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    76.Answering paragraph 76 of plaintiff’s complaint, defendants admit same.

    77.Answering paragraph 77 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    78.Answering paragraph 78 of plaintiff’s complaint, defendants admit same.

    79.Answering paragraph 79 of plaintiff’s complaint, defendants lack knowledge

 or information sufficient to form a belief as to the truth of the allegations in this

 paragraph, and therefore deny the allegations.

    80.Answering paragraph 80 of plaintiff’s complaint, defendants admit same.

    81.Answering paragraph 81 of plaintiff’s complaint, defendants admit that the

 investigative lead does not contain a “confidence score” or alternative investigative

 leads, denied in all other respects.

    82.Answering paragraph 82 of plaintiff’s complaint, defendants admit same.




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    83.Answering paragraph 83 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    84.Answering paragraph 84 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    85.Answering paragraph 85 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    86.Answering paragraph 86 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    87.Answering paragraph 87 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    88.Answering paragraph 88 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    89.Answering paragraph 89 of plaintiff’s complaint, defendants admit same.
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    90.Answering paragraph 90 of plaintiff’s complaint, defendants admit same.

    91.Answering paragraph 91 of plaintiff’s complaint, defendants admit same.

    92.Answering paragraph 92 of plaintiff’s complaint, defendants admit same.

    93.Answering paragraph 93 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    94.Answering paragraph 94 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    95.Answering paragraph 95 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    96.Answering paragraph 96 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    97.Answering paragraph 97 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.


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    98.Answering paragraph 98 of plaintiff’s complaint, defendants admit that

 Katherine Johnston identified Plaintiff as the felon who committed first degree

 retail fraud at Shinola on October 2, 2018, denied in all other respects.

    99.Answering paragraph 99 of plaintiff’s complaint, defendants deny the

 allegations contained therein for the reason that they are untrue in the manner and

 form alleged.

    100.      Answering paragraph 100 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    101.      Answering paragraph 101 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    102.      Answering paragraph 102 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    103.      Answering paragraph 103 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    104.      Answering paragraph 104 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    105.      Answering paragraph 105 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    106.      Answering paragraph 106 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    107.      Answering paragraph 107 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    108.      Answering paragraph 108 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    109.      Answering paragraph 109 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    110.      Answering paragraph 110 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    111.      Answering paragraph 111 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    112.      Answering paragraph 112 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    113.      Answering paragraph 113 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    114.      Answering paragraph 114 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    115.      Answering paragraph 115 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    116.      Answering paragraph 116 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    117.      Answering paragraph 117 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    118.      Answering paragraph 118 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    119.      Answering paragraph 119 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    120.      Answering paragraph 120 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    121.      Answering paragraph 121 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    122.      Answering paragraph 122 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    123.      Answering paragraph 123 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    124.      Answering paragraph 124 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    125.      Answering paragraph 125 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    126.      Answering paragraph 126 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    127.      Answering paragraph 127 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    128.      Answering paragraph 128 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    129.      Answering paragraph 129 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    130.      Answering paragraph 130 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    131.      Answering paragraph 131 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    132.      Answering paragraph 132 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    133.      Answering paragraph 133 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    134.      Answering paragraph 134 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    135.      Answering paragraph 135 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    136.      Answering paragraph 136 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    137.      Answering paragraph 137 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    138.      Answering paragraph 138 of plaintiff’s complaint, defendants admit

 same.

    139.      Answering paragraph 139 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.




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    140.      Answering paragraph 140 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    141.      Answering paragraph 141 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    142.      Answering paragraph 142 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    143.      Answering paragraph 143 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    144.      Answering paragraph 144 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    145.      Answering paragraph 145 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    146.      Answering paragraph 146 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    147.      Answering paragraph 147 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    148.      Answering paragraph 148 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    149.      Answering paragraph 149 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    150.      Answering paragraph 150 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    151.      Answering paragraph 151 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    152.      Answering paragraph 152 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    153.      Answering paragraph 153 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    154.      Answering paragraph 154 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    155.      Answering paragraph 155 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    156.      Answering paragraph 156 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    157.      Answering paragraph 157 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    158.      Answering paragraph 158 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    159.      Answering paragraph 159 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    160.      Answering paragraph 160 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    161.      Answering paragraph 161 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    162.      Answering paragraph 162 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    163.      Answering paragraph 163 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    164.      Answering paragraph 164 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    165.      Answering paragraph 165 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    166.      Answering paragraph 166 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    167.      Answering paragraph 167 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    168.      Answering paragraph 168 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    169.      Answering paragraph 169 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    170.      Answering paragraph 170 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    171.      Answering paragraph 171 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    172.      Answering paragraph 172 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    173.      Answering paragraph 173 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    174.      Answering paragraph 174 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    175.      Answering paragraph 175 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    176.      Answering paragraph 176 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    177.      Answering paragraph 177 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    178.      Answering paragraph 178 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    179.      Answering paragraph 179 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    180.      Answering paragraph 180 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    181.      Answering paragraph 181 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    182.      Answering paragraph 182 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    183.      Answering paragraph 183 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    184.      Answering paragraph 184 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    185.      Answering paragraph 185 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    186.      Answering paragraph 186 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    187.      Answering paragraph 187 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    188.      Answering paragraph 188 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    189.      Answering paragraph 189 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    190.      Answering paragraph 190 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    191.      Answering paragraph 191 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    192.      Answering paragraph 192 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    193.      Answering paragraph 193 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    194.      Answering paragraph 194 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    195.      Answering paragraph 195 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    196.      Answering paragraph 196 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    197.      Answering paragraph 197 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    198.      Answering paragraph 198 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    199.      Answering paragraph 199 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    200.      Answering paragraph 200 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    201.      Answering paragraph 201 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    202.      Answering paragraph 202 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    203.      Answering paragraph 203 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    204.      Answering paragraph 204 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    205.      Answering paragraph 205 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    206.      Answering paragraph 206 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    207.      Answering paragraph 207 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    208.      Answering paragraph 208 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    209.      Answering paragraph 209 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    210.      Answering paragraph 210 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    211.      Answering paragraph 211 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    212.      Answering paragraph 212 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    213.      Answering paragraph 213 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    214.      Answering paragraph 214 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    215.      Answering paragraph 215 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    216.      Answering paragraph 216 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    217.      Answering paragraph 217 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    218.      Answering paragraph 218 of plaintiff’s complaint, defendants admit

 same.

    219.      Answering paragraph 219 of plaintiff’s complaint, defendants admit

 the Crime Intelligence Unit Standard Operating Procedures (SOP) with a revised

 date of 4/1/2019 did not require retroactive review of investigative leads produced

 before the revision. Denied in all other respects.

    220.      Answering paragraph 220 of plaintiff’s complaint, defendants admit

 the Crime Intelligence Unit Standard Operating Procedures (SOP) with a revised

 date of 4/1/2019 includes the quoted statement.

    221.      Answering paragraph 221 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    222.      Answering paragraph 222 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    223.      Answering paragraph 223 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    224.      Answering paragraph 224 of plaintiff’s complaint, defendants admit

 same.

    225.      Answering paragraph 225 of plaintiff’s complaint, defendants admit

 same.

    226.      Answering paragraph 226 of plaintiff’s complaint, defendants admit

 same.

    227.      Answering paragraph 227 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    228.      Answering paragraph 228 of plaintiff’s complaint, defendants admit

 same.

    229.      Answering paragraph 229 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    230.      Answering paragraph 230 of plaintiff’s complaint, defendants admit

 that a valid warrant for plaintiff’s arrest was signed on August 27, 2019 and that

 Directive Number 307.5 of the Detroit Police Department Manual had an effective

 date of 09/19/2019.


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    231.      Answering paragraph 231 of plaintiff’s complaint, defendants admit

 same.

    232.      Answering paragraph 232 of plaintiff’s complaint, defendants admit

 same.

    233.      Answering paragraph 233 of plaintiff’s complaint, defendants admit

 same.

    234.      Answering paragraph 234 of plaintiff’s complaint, defendants admit

 same.

    235.      Answering paragraph 235 of plaintiff’s complaint, defendants admit

 same.

    236.      Answering paragraph 236 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    237.      Answering paragraph 237 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    238.      Answering paragraph 238 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.
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    239.      Answering paragraph 239 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    240.      Answering paragraph 240 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    241.      Answering paragraph 241 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    242.      Answering paragraph 242 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    243.      Answering paragraph 243 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    244.      Answering paragraph 244 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.



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    245.      Answering paragraph 245 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    246.      Answering paragraph 246 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    247.      Answering paragraph 247 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    248.      Answering paragraph 248 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    249.      Answering paragraph 249 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    250.      Answering paragraph 250 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    251.      Answering paragraph 251 of plaintiff’s complaint, defendants admit

 that the victim of a larceny turned over video of the larceny to Detective Bussa on

 May 22, 2019.

    252.      Answering paragraph 252 of plaintiff’s complaint, defendants admit

 same.

    253.      Answering paragraph 253 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    254.      Answering paragraph 254 of plaintiff’s complaint, defendants admit

 same.

    255.      Answering paragraph 255 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    256.      Answering paragraph 256 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    257.      Answering paragraph 257 of plaintiff’s complaint, defendants admit

 Bussa compiled a six-pack photo array that included Mr. Oliver’s picture.


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    258.      Answering paragraph 258 of plaintiff’s complaint, defendants admit

 same.

    259.      Answering paragraph 259 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    260.      Answering paragraph 260 of plaintiff’s complaint, defendants admit

 that an eyewitness identified Mr. Oliver, denied that a facial recognition system

 identified an investigative lead.

    261.      Answering paragraph 261 of plaintiff’s complaint, defendants admit

 same.

    262.      Answering paragraph 262 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    263.      Answering paragraph 263 of plaintiff’s complaint, defendants admit

 that valid warrant for Mr. Oliver’s arrest was signed by a magistrate.

    264.      Answering paragraph 264 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.


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    265.      Answering paragraph 265 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    266.      Answering paragraph 266 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    267.      Answering paragraph 267 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    268.      Answering paragraph 268 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    269.      Answering paragraph 269 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    270.      Answering paragraph 270 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    271.      Answering paragraph 271 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    272.      Answering paragraph 272 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    273.      Answering paragraph 273 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    274.      Answering paragraph 274 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    275.      Answering paragraph 275 of plaintiff’s complaint, including all

 subparagraphs, defendants deny any allegations contained therein for the reason

 that they are untrue in the manner and form alleged.

    276.      Answering paragraph 276 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    277.      Answering paragraph 277 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    278.      Answering paragraph 278 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    279.      Answering paragraph 279 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    280.      Answering paragraph 280 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    281.      Answering paragraph 281 of plaintiff’s complaint, including all

 subparagraphs, defendants deny the allegations contained therein for the reason

 that they are untrue in the manner and form alleged.

    282.      Answering paragraph 282 of plaintiff’s complaint, defendants admit

 same.




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    283.      Answering paragraph 283 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    284.      Answering paragraph 284 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    285.      Answering paragraph 285 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    286.      Answering paragraph 286 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    287.      Answering paragraph 287 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    288.      Answering paragraph 288 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    289.      Answering paragraph 289 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    290.      Answering paragraph 290 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    291.      Answering paragraph 291 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    292.      Answering paragraph 292 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    293.      Answering paragraph 293 of plaintiff’s complaint, defendants

 incorporate their preceding responses.

                                       Count I

    294.      Answering paragraph 294 of plaintiff’s complaint, defendants admit

 same.




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    295.      Answering paragraph 295 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.

    296.      Answering paragraph 296 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    297.      Answering paragraph 297 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    298.      Answering paragraph 298 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    299.      Answering paragraph 299 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

                                       Count II

    300.      Answering paragraph 300 of plaintiff’s complaint, defendants lack

 knowledge or information sufficient to form a belief as to the truth of the

 allegations in this paragraph, and therefore deny the allegations.
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    301.      Answering paragraph 301 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    302.      Answering paragraph 302 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    303.      Answering paragraph 303 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    304.      Answering paragraph 304 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    305.      Answering paragraph 305 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    306.      Answering paragraph 306 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    307.      Answering paragraph 307 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    308.      Answering paragraph 308 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    309.      Answering paragraph 309 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    310.      Answering paragraph 310 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    311.      Answering paragraph 311 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    312.      Answering paragraph 312 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.



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    313.      Answering paragraph 313 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    314.      Answering paragraph 314 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

                                      Count III

    315.      Answering paragraph 315 of plaintiff’s complaint, defendants admit

 same.

    316.      Answering paragraph 316 of plaintiff’s complaint, defendants admit

 same.

    317.      Answering paragraph 317 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

                                      Count IV

    318.      Answering paragraph 318 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.


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    319.      Answering paragraph 319 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    320.      Answering paragraph 320 of plaintiff’s complaint, defendants deny

 the allegations contained therein for the reason that they are untrue in the manner

 and form alleged.

    321.      Answering paragraph 321 of plaintiff’s complaint, including all

 subparagraphs, defendants deny any allegations contained therein for the reason

 that they are untrue in the manner and form alleged.




    WHEREFORE, Defendant requests that this Honorable Court dismiss

 Plaintiff’s complaint with prejudice, and award Defendant costs and attorney fees

 wrongfully incurred.

                                        Respectfully submitted,

                                         /s/ Patrick M. Cunningham
                                        PATRICK M. CUNNINGHAM (P67643)
                                        City of Detroit Law Department
                                        Attorneys for City of Detroit and Bussa
                                        2 Woodward Avenue, Suite 500
                                        Detroit, MI 48226
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 DATED: July 6, 2023                    cunninghamp@detroitmi.gov

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                            AFFIRMATIVE DEFENSES

    1. Governmental immunity and or qualified immunity and or testimonial

       immunity render defendants immune to plaintiff’s claims.

    2. Defendants did not violate any of Plaintiff’s clearly established constitutional

       rights.

    3. Defendants acted in good faith, without malice, within the scope of their

       employment and were performing a discretionary function.               As such,

       defendants are entitled to qualified immunity and are immune to all state

       intentional torts.

    4. Plaintiff has failed to state a claim upon which relief can be granted.

    5. Any injury suffered by plaintiff was proximately caused by their own conduct

       and/or the conduct of third parties.

    6. Any injury suffered by plaintiff was proximately caused by their own

       wrongdoing, including serious wrongdoing that gives rise to the wrongful

       conduct defense.

    7. Plaintiff failed to mitigate their damages.

    8. Plaintiff’s claims are barred, in whole or in part, by the lapsing of the

       applicable statute(s) of limitation.

    9. To the extent, if any, that defendants, or anyone acting at the direction of or in

       concert with defendants, used force against plaintiff, each such use of force
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       was privileged and lawful because the force was reasonably applied in the

       execution of a lawful arrest, in the lawful performance of other police duties,

       with the plaintiff’s consent, in self-defense, or in the defense of others.

    10.At all relevant times, defendants acted with objective good faith and therefore

       have qualified immunity from liability on plaintiff’s claims.

    11.The arrest, seizure and/or imprisonment of plaintiff was supported by probable

       cause, exigent circumstances and/or a valid warrant.

    12.Plaintiff has failed to join every legal and equitable claim arising from the

       incident central to the lawsuit.

    13.Detention and/or search of plaintiff’s person or property or entry onto or into

        Plaintiff’s property, if any, was based on a valid search/arrest warrant and/or

        probable cause to believe a crime had been committed and/or reasonable

        suspicion that a crime had been committed. Search of plaintiff’s person or

        property may have also been based on consent, exigent circumstances or hot

        pursuit. Any detention and/ or search was reasonable to investigate whether

        a crime had been committed and/or to complete necessary administrative

        processing. Any custodial searches were also protective for officer safety

        and search incident to arrest/ticketing.




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    14.The federal right supporting plaintiff’s claim is not sufficiently clear. Thus,

       defendants did not know they would violate an individual’s rights. Anderson

       v. Creighton, 483 US 635; 97 L.Ed.2d 523; 107 S.Ct. 3034 (1987).

    15.Plaintiff suffered no damages, or their damages are de minimis.

    16.Plaintiff’s claims are barred by Heck v Humphrey, 512 U.S. 477, at 486-487,

       114 S. Ct. 2364, 129 L. Ed. 2d 383 (1994).

    17.Plaintiff’s claims are barred by collateral estoppel and res judicata.

    18.The City of Detroit or Detroit Police Department did not have or otherwise

       adopt any customs, policies and/or procedures which caused or otherwise

       were the moving force behind any constitutional violations alleged in

       Plaintiff’s complaint, nor did any such alleged customs, policies and/or

       procedures originate from a decision maker with final policy making

       authority. Further, Defendants did not ratify, accept and/or otherwise condone

       any constitutional violations alleged in Plaintiff’s complaint.          Finally,

       Defendants did not act with deliberate indifference as to known or obvious

       consequences with respect to the activities alleged in Plaintiff’s complaint

       and/or as to any constitutional violations, nor is there any widespread practice

       of constitutional violations and/or failure to take corrective action regarding

       the same with regard to discipline, supervision, or training.




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                                              Respectfully submitted,

                                           /s/ Patrick M. Cunningham
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                                          Detroit, MI 48226
                                          (313) 237-5032
 DATED: July 6, 2023                      cunninghamp@detroitmi.gov




                            CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2023, I electronically filed the foregoing with

 the clerk of the Court using the ECF system which will send notification and a copy

 of this filing to the attorneys of record.




                               /s/ Patrick M. Cunningham




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